Case 2:19-cv-01075-GBW-CG Document 26 Filed 04/22/20 Page 1 of 1 PageID #: 72



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

DAVID BELKNAP,

             Plaintiff,

v.                                                           CV No. 19-1075 GBW/CG

CITY OF ALAMOGORDO, et al.,

             Defendants.

              ORDER SETTING TELEPHONIC STATUS CONFERENCE

      THIS MATTER is before the Court after conferring with the parties about a

mutually convenient date and time. IT IS HEREBY ORDERED that a status conference

will be held by telephone on June 16, 2020, at 2:30 p.m. Parties shall call Judge

Garza’s AT&T Teleconference line at (877) 810-9415, follow the prompts, and enter the

Access Code 7467959, to be connected to the proceedings.

      IT IS SO ORDERED.



                                  THE HONORABLE CARMEN E. GARZA
                                  CHIEF UNITED STATES MAGISTRATE JUDGE
